    8:17-cb-00008-SMB         Doc # 16     Filed: 06/04/25      Page 1 of 1 - Page ID # 43




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                Case No. 8:17CB8
                                                        Violation Nos. 6483588 -NE14 and
       vs.                                                        6483589-NE14

BRIAN B. LEE,                                                  DISMISSAL ORDER

                      Defendant.

       NOW ON THIS 4th day of June 2025, this matter is before the Court on the United States’

Motion for Dismissal (Filing No. 15). The Court, being duly advised in the premises, finds that

said Motion should be sustained.

       IT IS HEREBY ORDERED:

       Leave of Court is granted for the United States to dismiss, without prejudice, the violation

in the above-captioned case as it to the Defendant, BRIAN B. LEE.


       Dated this 4th day of June, 2025.

                                                     BY THE COURT:

                                                     s/ Michael D. Nelson
                                                     United States Magistrate Judge
